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                   Exhibit 1
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              ALEXANDER HERD, ET AL. vs COUNTY OF SAN BERNARDINO, ET AL.
                                Brian Leyva on 05/17/2019                                  ·

    ·1· · · · · · · ·UNITED STATES DISTRICT COURT FOR THE

    ·2· · · · · · · · · ·CENTRAL DISTRICT OF CALIFORNIA

    ·3

    ·4·   ·   ·   ·ALEXANDER HERD, individually;· · )
    · ·   ·   ·   ·A.G., by and through her guardian)
    ·5·   ·   ·   ·ad litem Amanda Addington,· · · ·)
    · ·   ·   ·   ·individually and as successor in )
    ·6·   ·   ·   ·interest to James Gleason,· · · ·)
    · ·   ·   ·   ·deceased,· · · · · · · · · · · · )
    ·7·   ·   ·   · · · · · · · · · · · · · · · · · )
    · ·   ·   ·   · · · · · · Plaintiffs,· · · · · ·)
    ·8·   ·   ·   · · · · · · · · · · · · · · · · · )
    · ·   ·   ·   · · · · · · vs.· · · · · · · · · ·) Case No. 5:17-cv-02545
    ·9·   ·   ·   · · · · · · · · · · · · · · · · · )· · · · · -AB-SP
    · ·   ·   ·   ·COUNTY OF SAN BERNARDINO; CITY· ·)
    10·   ·   ·   ·OF FONTANA; STATE OF CALIFORNIA; )
    · ·   ·   ·   ·BRIAN LEYVA; JASON PERNICIARO;· ·)
    11·   ·   ·   ·AND DOES 1-10.· · · · · · · · · ·)
    · ·   ·   ·   · · · · · · · · · · · · · · · · · )
    12·   ·   ·   · · · · · · Defendants.· · · · · ·)
    · ·   ·   ·   __________________________________)
    13

    14

    15

    16· · · · · · · · · · ·DEPOSITION OF BRIAN LEYVA

    17· · · · · · · · · · · ·PASADENA, CALIFORNIA

    18· · · · · · · · · · · ·FRIDAY, MAY 17, 2019

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    20

    21

    22

    23

    24· ·Reported by:· Jinna Grace Kim, CSR No. 14151

    25· ·Job No.:· 242867


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    ·1· · · · · · · ·UNITED STATES DISTRICT COURT FOR THE

    ·2· · · · · · · · · ·CENTRAL DISTRICT OF CALIFORNIA

    ·3

    ·4·   ·   ·   ·ALEXANDER HERD, individually;· · )
    · ·   ·   ·   ·A.G., by and through her guardian)
    ·5·   ·   ·   ·ad litem Amanda Addington,· · · ·)
    · ·   ·   ·   ·individually and as successor in )
    ·6·   ·   ·   ·interest to James Gleason,· · · ·)
    · ·   ·   ·   ·deceased,· · · · · · · · · · · · )
    ·7·   ·   ·   · · · · · · · · · · · · · · · · · )
    · ·   ·   ·   · · · · · · Plaintiffs,· · · · · ·)
    ·8·   ·   ·   · · · · · · · · · · · · · · · · · )
    · ·   ·   ·   · · · · · · vs.· · · · · · · · · ·) Case No. 5:17-cv-02545
    ·9·   ·   ·   · · · · · · · · · · · · · · · · · )· · · · · -AB-SP
    · ·   ·   ·   ·COUNTY OF SAN BERNARDINO; CITY· ·)
    10·   ·   ·   ·OF FONTANA; STATE OF CALIFORNIA; )
    · ·   ·   ·   ·BRIAN LEYVA; JASON PERNICIARO;· ·)
    11·   ·   ·   ·AND DOES 1-10.· · · · · · · · · ·)
    · ·   ·   ·   · · · · · · · · · · · · · · · · · )
    12·   ·   ·   · · · · · · Defendants.· · · · · ·)
    · ·   ·   ·   __________________________________)
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    16· · · · · · The deposition of BRIAN LEYVA, taken on behalf of

    17· ·the Plaintiffs, at 117 East Colorado Boulevard, Suite 600,

    18· ·Pasadena, California 91105, beginning at 10:11 a.m., and

    19· ·ending at 12:28 p.m., on Friday, May 17, 2019, before Jinna

    20· ·Grace Kim, Certified Stenographic Shorthand Reporter No.

    21· ·14151.

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                                Brian Leyva on 05/17/2019                             Page 3

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    22·   ·    ·   ·   ·   ·   ·Fax:· 714-937-1003
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    ·1· · · ·Q.· ·Do you know what the round count was?
    ·2· · · ·A.· ·I don't.
    ·3· · · ·Q.· ·Do you have any range in terms of an estimate as to
    ·4· ·how many shots you fired?
    ·5· · · ·A.· ·I would say more than two.
    ·6· · · ·Q.· ·Other than more than two, can you give any other
    ·7· ·estimate, or that's the best you can do?
    ·8· · · ·A.· ·That's the best I can recall.
    ·9· · · ·Q.· ·And were you aiming at any object or person at the
    10· ·time you fired?
    11· · · ·A.· ·I was.
    12· · · ·Q.· ·And who were you aiming at?
    13· · · ·A.· ·At the driver.
    14· · · ·Q.· ·Had you ever seen that person before that day?
    15· · · ·A.· ·No.
    16· · · ·Q.· ·Did you know anything specifically about that
    17· ·person?
    18· · · ·A.· ·No.
    19· · · ·Q.· ·What part of the vehicle were you aiming or shooting
    20· ·through when you were aiming at the driver?
    21· · · ·A.· ·I can't recall.
    22· · · ·Q.· ·In other words, do you know if it was the driver
    23· ·side window or some other part of the car?
    24· · · ·A.· ·I do not.
    25· · · ·Q.· ·Were you stationary, or moving at the time you

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                             Brian Leyva on 05/17/2019                              Page 13

    ·1· · · ·Q.· ·Before you fired your first shot, did you hear any
    ·2· ·shots being fired?
    ·3· · · ·A.· ·I can't recall.
    ·4· · · ·Q.· ·What would you estimate your distance to be between
    ·5· ·yourself and the driver of the vehicle when you fired the
    ·6· ·first shot?
    ·7· · · ·A.· ·Between me and the driver, or the vehicle?
    ·8· · · ·Q.· ·I'm going to ask about the driver, and then I'm
    ·9· ·going to ask about the vehicle.
    10· · · ·A.· ·I would say a car length.
    11· · · ·Q.· ·And when you say "a car length," you probably have
    12· ·more expertise in cars than we do.
    13· · · · · · What car do you have in mind, what type of car?
    14· · · · · · Because some are little longer than others.
    15· · · ·A.· ·Average, mid-size car, four-door car.
    16· · · ·Q.· ·When you fired your first shot, what part of the --
    17· ·strike that.
    18· · · · · · I assume the driver was sitting in the driver seat
    19· ·of the vehicle.
    20· · · ·A.· ·Yes.
    21· · · ·Q.· ·What type of vehicle was it?
    22· · · ·A.· ·It was a Honda Accord.
    23· · · ·Q.· ·What color was it?
    24· · · ·A.· ·Dark.
    25· · · ·Q.· ·How many people were in that vehicle?

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                             Brian Leyva on 05/17/2019                              Page 14

    ·1· · · · · · MS. DEAN:· Objection.· Vague as to time.
    ·2· ·BY MR. GALIPO:
    ·3· · · ·Q.· ·Let me break it down.
    ·4· · · · · · At the time you fired how many people were you aware
    ·5· ·of in the car?
    ·6· · · ·A.· ·Two.
    ·7· · · ·Q.· ·Do you now have an understanding there was an
    ·8· ·additional person in the car?
    ·9· · · ·A.· ·Yes.
    10· · · ·Q.· ·But you, at the time you fired, you were just aware
    11· ·of the two; is that correct?
    12· · · ·A.· ·Yes.
    13· · · ·Q.· ·And was the two that you were aware of the driver
    14· ·and the front seat passenger?
    15· · · ·A.· ·Yes.
    16· · · ·Q.· ·The other person in the car, were they in the
    17· ·backseat, if you know?
    18· · · ·A.· ·Yes.
    19· · · ·Q.· ·What you know now?
    20· · · ·A.· ·Yes.
    21· · · ·Q.· ·Did you learn that after the shooting?
    22· · · ·A.· ·Yes.
    23· · · ·Q.· ·So at the time you fired your first shot, what part
    24· ·of the car do you believe, and I'm talking about the dark
    25· ·Honda.

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    ·1· · · · · · If I refer to the dark Honda, you know what I'm
    ·2· ·talking about?
    ·3· · · ·A.· ·Yes.
    ·4· · · ·Q.· ·What part of the dark Honda was closest to you?
    ·5· · · ·A.· ·I can't recall.
    ·6· · · ·Q.· ·Do you know if you ever fired any shots through the
    ·7· ·driver side window of the dark Honda?
    ·8· · · ·A.· ·I can't recall.
    ·9· · · ·Q.· ·Did you see any bullet strikes to the dark Honda
    10· ·after the incident?
    11· · · ·A.· ·I did.
    12· · · ·Q.· ·And did you see any bullet strikes on the driver
    13· ·side after the incident?
    14· · · ·A.· ·Driver side?
    15· · · ·Q.· ·Yes.
    16· · · ·A.· ·Yes.
    17· · · ·Q.· ·Where on the driver side did you see the bullet
    18· ·strikes after the incident?
    19· · · ·A.· ·On the window.
    20· · · ·Q.· ·Which window?
    21· · · ·A.· ·Driver side window.
    22· · · ·Q.· ·Do you know if the driver side window was up or down
    23· ·at the time you fired your shots?
    24· · · ·A.· ·I don't.
    25· · · ·Q.· ·When you saw the window after the shooting, is that

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           ALEXANDER HERD, ET AL. vs COUNTY OF SAN BERNARDINO, ET AL.
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    ·1· ·when you saw at least one or more bullet defects to the
    ·2· ·window?
    ·3· · · ·A.· ·Yes.
    ·4· · · ·Q.· ·Do you remember if you saw more than one bullet
    ·5· ·defect to the window?
    ·6· · · ·A.· ·I do not.
    ·7· · · ·Q.· ·But at least one?
    ·8· · · ·A.· ·Yes.
    ·9· · · ·Q.· ·And was -- when you saw the bullet defect to the
    10· ·window, was the window either up or partially up at that
    11· ·time?
    12· · · ·A.· ·I think it was up.
    13· · · ·Q.· ·Did you see any other bullet defects to the car
    14· ·other than to the driver side window?
    15· · · ·A.· ·I did not.
    16· · · ·Q.· ·Can you -- understanding you don't recall what part
    17· ·of the car was closest to you when you fired your first shot,
    18· ·do you have an estimate of the distance of any part of the
    19· ·car to you when you fired your first shot?
    20· · · ·A.· ·Not the vehicle itself; correct?
    21· · · ·Q.· ·Right.
    22· · · ·A.· ·I would say about two to three feet.
    23· · · ·Q.· ·But do you recall what part of the vehicle?
    24· · · · · · So in other words, you're saying part of the vehicle
    25· ·was two to three feet from you when you fired the first

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         ALEXANDER HERD, ET AL. vs COUNTY OF SAN BERNARDINO, ET AL.
                           Brian Leyva on 05/17/2019                              Page 17

 ·1· ·shot?
 ·2· · · ·A.· ·I believe so.
 ·3· · · ·Q.·
          Q.· ·I'm just trying to figure out if you can tell me
 ·4· ·generally what part of the vehicle.
 ·5· · · ·A.· ·It would probably be the left, front fender.
 ·6· · · ·Q.· ·Was the vehicle moving when you fired the first
 ·7· ·shot?
 ·8· · · ·A.· ·Yes.
 ·9· · · ·Q.· ·Was it moving forward?
 10· · · ·A.· ·Yes.
 11· · · ·Q.· ·And had it previously been in a stopped position
 12· ·after reversing temporarily?
 13· · · ·A.· ·Yes.
 14· · · ·Q.· ·As I understand it, and we'll go through the
 15· ·chronology from the beginning in a moment.
 16· · · · · · But at some point the car went backwards some
 17· ·distance; is that correct?
 18· · · ·A.· ·Yes.
 19· · · ·Q.· ·And do you have an estimate as to how far it went
 20· ·back?
 21· · · ·A.· ·Possibly half to a full car length.
 22· · · ·Q.· ·And do you have an estimate as to the speed of the
 23· ·car as it went backwards?
 24· · · ·A.· ·I do not.
 25· · · ·Q.· ·Were any shots fired, if you know, as the car was

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 ·1· ·going backwards?
 ·2· · · ·A.· ·I do not.
 ·3· · · ·Q.· ·After the car went backwards at some point, did it
 ·4· ·start to go forward?
 ·5· · · ·A.· ·Yes.
 ·6· · · ·Q.· ·And do you know how far the car went forwards after
 ·7· ·going backwards before you fired your first shot?
 ·8· · · ·A.· ·I don't understand the question.
 ·9· · · ·Q.· ·Okay.· Probably because it wasn't very good.
 10· · · · · · So the car goes back at some point; correct?
 11· · · ·A.· ·Correct.
 12· · · ·Q.· ·And did the car momentarily stop as if the driver
 13· ·was changing from "reverse" to "drive?"
 14· · · ·A.· ·Yes.
 15· · · ·Q.· ·And then after that the car started to go forward?
 16· · · ·A.· ·Yes.
 17· · · ·Q.· ·At some point after the car started to go forward,
 18· ·you fired your first shot?
 19· · · ·A.· ·Yes.
 20· · · ·Q.· ·I'm wondering if you have an estimate as to how far
 21· ·the car went forward before you fired your first shot.
 22· · · ·A.· ·I don't have an estimate.
 23· · · ·Q.· ·Do you know if it was more or less than five feet?
 24· · · ·A.· ·I couldn't tell you.
 25· · · ·Q.· ·Do you have an estimate of the speed of the vehicle

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 ·1· ·same area.
 ·2· · · ·Q.· ·So when you say, "To the right of the Honda," you're
 ·3· ·referring to the dark-colored Honda?
 ·4· · · ·A.· ·Yes.
 ·5· · · ·Q.· ·And when you say, "To the right," are you referring
 ·6· ·to the passenger side of the car?
 ·7· · · ·A.· ·I am.
 ·8· · · ·Q.· ·Do you know if Jason fired any shots?
 ·9· · · ·A.· ·Yes.
 10· · · ·Q.· ·At the time of the shooting as opposed to what you
 11· ·know now, did you have an impression that Jason was firing
 12· ·shots at some point?
 13· · · ·A.· ·Yes.
 14· · · ·Q.· ·How did you know it was Jason that was firing?
 15· · · ·A.· ·I could hear the popping sound of a weapon which
 16· ·wasn't coming from me.
 17· · · ·Q.· ·And it didn't appear to be coming from inside the
 18· ·car; is that fair?
 19· · · ·A.· ·No.
 20· · · ·Q.· ·Did you think the people in the car were shooting at
 21· ·you?
 22· · · ·A.· ·No.
 23· · · ·Q.· ·So is that how you were able to logically deduce
 24· ·that the other shots were coming from Jason because you knew
 25· ·they weren't coming from you, and you knew they weren't

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 ·1· ·were there, but before you called Jason?
 ·2· · · · · · MS. DEAN:· Objection.· Vague.
 ·3· ·BY MR. GALIPO:
 ·4· · · ·Q.· ·Let me ask in a simpler way.
 ·5· · · · · · Why did you call Jason?
 ·6· · · ·A.· ·Jason, I believe at the time, was my trainee --
 ·7· ·well, not trainee, but I was -- he was my ride-along.
 ·8· · · · · · I was going to show him what the auto theft does.
 ·9· ·So I was going to offer him this investigation for him to
 10· ·handle.
 11· · · ·Q.· ·So maybe you can help me out a little bit just so I
 12· ·understand.
 13· · · · · · Did San Bernardino County have this task force?
 14· · · · · · Did I have that right?
 15· · · ·A.· ·Yes.· San Bernardino County Auto Theft Task Force,
 16· ·yes.
 17· · · ·Q.· ·And then you worked for or part of that task
 18· ·force?
 19· · · ·A.· ·I'm attached to it, yes.
 20· · · ·Q.· ·So that's what I'm trying to figure out.
 21· · · · · · How are you attached to it, or how were you attached
 22· ·to it?
 23· · · ·A.· ·I'm just the highway patrol officer assigned to this
 24· ·task force.
 25· · · ·Q.· ·Who else, if you know, is assigned to this task

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                           Brian Leyva on 05/17/2019                              Page 24

 ·1· ·force?
 ·2· · · ·A.· ·Police agencies is Fontana PD, San Bernardino County
 ·3· ·Sheriff's Department, the District Attorney's office, San
 ·4· ·Bernardino PD, the CHP, and Department of Insurance,
 ·5· ·Department of Motor Vehicles, and I can't recall if Rialto PD
 ·6· ·was attached at the time.
 ·7· · · ·Q.· ·And then what was your -- I think you explained this
 ·8· ·to an extent.
 ·9· · · · · · Your relationship with Jason, were you training him
 10· ·in some respect?
 11· · · ·A.· ·Yes.
         ·Q.· ·And did you have an understanding as to who he
 12· · · ·Q.
 13· ·worked for?
 14· · · ·A.· ·Yes.
 15· · · ·Q.· ·What was your understanding?
 16· · · ·A.· ·That he was the officer assigned or assigned to
 17· ·SANCATT from Fontana PD.
 18· · · ·Q.· ·Had you worked with him before?
 19· · · ·A.· ·No.
 20· · · ·Q.· ·And how did you know to contact him?
 21· · · · · · In other words, did you have his number or
 22· ·something?
 23· · · ·A.· ·Yes.
 24· · · ·Q.· ·Was it set up that you were going to work with him
 25· ·that day, or just that you got there and you thought in your

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 ·1· ·white Honda's driver door.
 ·2· · · ·Q.· ·So are they facing the same way at this point?
 ·3· · · ·A.· ·At this point they're facing west.
 ·4· · · ·Q.· ·Both facing west?
 ·5· · · ·A.· ·Both facing west.
 ·6· · · ·Q.· ·In parking stalls next to each other?
 ·7· · · ·A.· ·Yes.
 ·8· · · ·Q.· ·And then what do you observe?
 ·9· · · ·A.· ·The right, front passenger exits the vehicle.
 10· · · ·Q.· ·What does he do?
 11· · · ·A.· ·He proceeds to manipulate the driver side door of
 12· ·the white Honda, so left hand to the handle and then the
 13· ·right hand, he was filling with the key hole.
 14· · · ·Q.· ·And then what happened?
 15· · · ·A.· ·That's when me and Jason went back there to detain
 16· ·the individuals.
 17· · · ·Q.· ·And did you approach on foot, or pull up in your
 18· ·cars, or what did you do?
 19· · · ·A.· ·We drove in our cars.
 20· · · ·Q.· ·And you were in separate cars?
 21· · · ·A.· ·Yes.
 22· · · ·Q.·
          Q.· ·What type of car were you in?
 23· · · ·A.· ·I was in a white 2013, F-150.
 24· · · ·Q.· ·Did it have any police markings on it?
 25· · · ·A.· ·No.

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 ·1· · · ·Q.· ·What were you wearing at the time?
 ·2· · · ·A.· ·Street clothes.
 ·3· · · ·Q.· ·And what type of street clothes?
 ·4· · · · · · Do you recall, generally?· They were jeans or what
 ·5· ·you had?
 ·6· · · ·A.· ·Jeans and a T-shirt.
 ·7· · · ·Q.· ·And was your hair similar to how it is now, or what
 ·8· ·do you recall about that?
 ·9· · · ·A.· ·I can't recall.
 10· · · ·Q.· ·Do you recall if you -- you have a beard and
 11· ·mustache.
 12· · · · · · Do you recall if you had that at the time?
 13· · · ·A.· ·I believe I did.
 14· · · ·Q.· ·I take it in your assignment you're allowed to,
 15· ·obviously, have your hair a little bit longer than, perhaps,
 16· ·CHP officer whose giving us tickets on the freeway?
 17· · · ·A.· ·Yes.
 18· · · ·Q.· ·Okay.· It's probably one benefit of the assignment,
 19· ·I'm sure.
 20· · · · · · But you were casually dressed; is that fair?
 21· · · ·A.· ·Yes.
 22· · · ·Q.· ·And how about Jason, do you know how he was
 23· ·dressed?
 24· · · ·A.· ·Street clothes.
 25· · · ·Q.· ·Also casually dressed?

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 ·1· ·see yourself behind the truck?
 ·2· · · ·A.· ·I could see myself in the video.
 ·3· · · ·Q.· ·Do you recall in that video if you were behind the
 ·4· ·truck as you're indicating?
 ·5· · · ·A.· ·I can't recall.
 ·6· · · ·Q.· ·How close do you think you were from the rear bumper
 ·7· ·of the truck?
 ·8· · · ·A.· ·Probably less than 10 feet.
 ·9· · · ·Q.· ·And why did you stay in that general position during
 10· ·the incident?
 11· · · ·A.· ·To me, tactically, made sense to have my truck as
 12· ·protection just in case individuals had a weapon.
 13· · · · · · I could use my truck as cover.
 14· · · ·Q.· ·So you were considering or thought about using your
 15· ·truck for cover during the incident?
 16· · · ·A.· ·Yes.
 17· · · ·Q.· ·Did you have any specific information that any of
 18· ·the people in the dark-colored Honda had weapons?
 19· · · ·A.· ·No.
 20· · · ·Q.· ·Did you ever see anything during the incident up
 21· ·until the time it struck the white truck that you thought was
 22· ·a weapon in her hands?
 23· · · ·A.· ·No.
 24· · · ·Q.· ·Did you hear them ever verbally threaten to harm you
 25· ·in any way?

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 ·1· · · ·A.· ·No.
 ·2· · · ·Q.· ·Did you ever hear them say anything?
 ·3· · · ·A.· ·No.
 ·4· · · · · · (Exhibit 2 was marked for identification.)
 ·5· ·BY MR. GALIPO.
 ·6· · · ·Q.· ·Looking at Exhibit 2, is that another angle of the
 ·7· ·Honda, the front of the Honda, and the passenger side of your
 ·8· ·white truck?
 ·9· · · ·A.· ·Yes.
 10· · · ·Q.· ·Do you know if the Honda ever impacted the body of
 11· ·your car separate from the tire?
 12· · · ·A.· ·I do not.
 13· · · ·Q.· ·Did you see any body damage to your white truck
 14· ·after the incident?
 15· · · ·A.· ·I did not.
 16· · · ·Q.· ·Do you know if the dark-colored Honda actually
 17· ·impacted the tire or not?
 18· · · ·A.· ·It did.
 19· · · ·Q.· ·Is that the area that you recall of the impact, the
 20· ·front of the dark-colored Honda and your tire?
 21· · · ·A.· ·No.
 22· · · ·Q.· ·What do you recall the general area of impact?
 23· · · · · · And I'm showing you the picture if that helps you at
 24· ·all.
 25· · · ·A.· ·Correct.· From -- just from reviewing the video, I

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 ·1· ·know the right side of the right rear where the truck is
 ·2· ·pushed, got struck.
 ·3· · · ·Q.· ·Let me show you another one.
 ·4· · · · · · I don't know if that helps or not.
 ·5· · · · · · (Exhibit 3 was marked for identification.)
 ·6· ·BY MR. GALIPO:
 ·7· · · ·Q.· ·Is that generally -- and I know that's almost like a
 ·8· ·view looking down.
 ·9· · · · · · Does that appear to be the general resting position
 10· ·of the dark-colored Honda relative to your truck?
 11· · · ·A.· ·I don't know.
 12· · · ·Q.· ·Let me show you a few other photos.
 13· · · · · · (Exhibit 4 was marked for identification.)
 14· ·BY MR. GALIPO:
 15· · · ·Q.· ·Showing you Exhibit 4, that also shows some of the
 16· ·vehicles we've been talking about just from a different
 17· ·angle?
 18· · · ·A.· ·(Non-verbal response)
 19· · · ·Q.· ·Is that correct?
 20· · · ·A.· ·Yes.
 21· · · · · · MS. DEAN:· You have to answer audibly so she can
 22· ·take it down.
 23· ·BY MR. GALIPO:
 24· · · ·Q.· ·You didn't see any tire marks on the roadway left
 25· ·from the dark Honda, did you?

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 ·1· · · ·A.· ·I did not.
 ·2· · · ·Q.· ·And I think you indicated in your statement you
 ·3· ·never heard the squealing of the tires or anything like that;
 ·4· ·is that fair?
 ·5· · · ·A.· ·I can't recall.
 ·6· · · ·Q.· ·Do you know how fast the Honda was going when it
 ·7· ·made contact with your tires?
 ·8· · · ·A.· ·I do not.
 ·9· · · · · · (Exhibit 5 was marked for identification.)
 10· ·BY MR. GALIPO:
 11· · · ·Q.· ·Exhibit 5, can you tell is this the front of Jason's
 12· ·car?
 13· · · ·A.· ·It does look like his car.
 14· · · · · · (Exhibit 6 was marked for identification.)
 15· ·BY MR. GALIPO:
 16· · · ·Q.· ·Okay.· Exhibit 6, does that look -- and I know it's
 17· ·in a different location like the dark-colored Honda?
 18· · · ·A.· ·Yes.
 19· · · · · · (Exhibit 7 was marked for identification.)
 20· ·BY MR. GALIPO:
 21· · · ·Q.· ·Same with Exhibit 7.
 22· · · ·A.· ·Yes.
 23· · · ·Q.· ·Now, looking at Exhibit 7, do you -- and maybe, I
 24· ·don't know, and Exhibit 6, can you see any bullet strikes to
 25· ·the front window shield of the dark-colored Honda?

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 ·1· · · ·A.· ·It does not appear.
 ·2· · · · · · (Exhibit 8 was marked for identification.)
 ·3· ·BY MR. GALIPO:
 ·4· · · ·Q.· ·Okay.· Exhibit 8, does that look to be like more the
 ·5· ·driver side of the dark-colored Honda?
 ·6· · · ·A.· ·Yes.
 ·7· · · ·Q.· ·And I think you said earlier that you recall there
 ·8· ·possibly being a bullet strike to the driver side window.
 ·9· · · ·A.· ·Correct.
 10· · · ·Q.· ·Do you see that in this photo?
 11· · · ·A.· ·It appears that there is a some sort of strike
 12· ·there.
 13· · · ·Q.· ·In this picture, Exhibit 8, window looks partially
 14· ·down, but do you recall if it was partially down at the time,
 15· ·or you're not sure?
 16· · · ·A.· ·I don't know.
 17· · · ·Q.· ·Okay.· That's fine.
 18· · · · · · (Exhibit 9 was marked for identification.)
 19· · · · · · (Exhibit 10 was marked for identification.)
 20· ·BY MR. GALIPO:
 21· · · ·Q.· ·Exhibit 9 and 10, I'll show you those.
 22· · · · · · So Exhibit 9 and 10, maybe it's easier to look at
 23· ·10.
 24· · · · · · So and I realize you didn't do these markings, but
 25· ·there appears to be a marking "2A" with a bullet defect on

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 ·1· ·them, or did you know that at the time?
 ·2· · · ·A.· ·I did not know that.
 ·3· · · ·Q.· ·Your car was positioned to try to block the
 ·4· ·dark-colored Honda from going forward, at least directly
 ·5· ·forward; is that fair?
 ·6· · · · · · At least when it was in its initial parking spot?
 ·7· · · ·A.· ·Yes.
 ·8· · · ·Q.· ·Okay.· That's why you positioned your car there;
 ·9· ·correct?
 10· · · ·A.· ·Yes.
 11· · · ·Q.· ·I mean, the white Honda, I think you told us that
 12· ·you never saw the passenger actually enter it; is that
 13· ·fair?
 14· · · ·A.· ·Correct.
 15· · · ·Q.· ·And you never saw any people in the white Honda?
 16· · · ·A.· ·I did not.
 17· · · ·Q.· ·You were more concerned with detaining the occupants
 18· ·in the dark-colored Honda?
 19· · · ·A.· ·Yes.
 20· · · ·Q.· ·Which is why you pulled your truck almost directly
 21· ·in front of it?
 22· · · ·A.· ·Yes.
 23· · · ·Q.· ·And are you saying that you knew that Jason was
 24· ·pulling somewhere behind, but you didn't know exactly
 25· ·where?

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 ·1· · · ·A.· ·Yes.
 ·2· · · ·Q.· ·And you don't recall when you got out of your truck
 ·3· ·and moved towards the back seeing Jason's car back there at
 ·4· ·that time?
 ·5· · · ·A.· ·I recall seeing it when I drove up.
 ·6· · · ·Q.· ·So when the car started backing up, at that point
 ·7· ·you formed the impression they're going to try to get away.
 ·8· · · · · · Is that something that was running through your
 ·9· ·mind?
 10· · · ·A.· ·Yes.
 11· · · ·Q.· ·And then at some point you see the car starting to
 12· ·go forward?
 13· · · ·A.· ·Yes.
 14· · · ·Q.· ·When the car was backing up, at that time were you
 15· ·aware that it couldn't keep backing up because Jason's car
 16· ·was behind it, or you didn't know that at the time?
 17· · · ·A.· ·I did not know.
 18· · · ·Q.· ·So when the car started moving forward, did you
 19· ·think at that point that they were going to possibly try to
 20· ·get away?
 21· · · ·A.· ·Yes.
 22· · · ·Q.· ·Now, is part of your training as a CHP officer that
 23· ·if you believe a vehicle is trying to get away or leave the
 24· ·area, try to not position yourself in the path of the vehicle
 25· ·if you can a avoid that?

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 ·1· · · ·A.· ·Something along those lines, yes.
 ·2· · · ·Q.· ·And is it also your understanding from your
 ·3· ·training, if for whatever reason, you find yourself in the
 ·4· ·path of the vehicle or possibly in the path of the vehicle,
 ·5· ·try to move out of the way if you can safely do so?
 ·6· · · ·A.· ·Yes.
 ·7· · · ·Q.· ·And is it also part of the training, and I believe
 ·8· ·the policy, that if you can move out of the way, you should
 ·9· ·do that rather than firing at the vehicle or the driver of
 10· ·the vehicle?
 11· · · ·A.· ·I wouldn't say that.
 12· · · ·Q.· ·What is your understanding of what the policy says
 13· ·in that regards, if you remember?
 14· · · ·A.· ·Yeah.· You shouldn't deliberately place yourself in
 15· ·front or behind a vehicle in order for them to -- for them
 16· ·to -- prevent their escape.
 17· · · ·Q.· ·And do you recall any wording in the policy related
 18· ·to stepping out of the way if you can, rather than shooting
 19· ·at the driver?
 20· · · ·A.· ·I do not.
 21· · · ·Q.· ·Were you ever trained as a law enforcement officer
 22· ·that if you can step out of the way of the vehicle, you
 23· ·should do that rather than shooting at the driver?
 24· · · ·A.· ·No.
 25· · · ·Q.· ·Were you trained that shooting at the driver of a

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 ·1· ·vehicle could seriously injure or kill the driver?
 ·2· · · ·A.· ·Yes.
 ·3· · · ·Q.· ·Were you aiming center mass when you fired your
 ·4· ·shots at the driver --
 ·5· · · ·A.· ·Yes.
 ·6· · · ·Q.· ·-- which would be his upper body from your
 ·7· ·perspective?
 ·8· · · · · · In other words, the head, chest area?
 ·9· · · ·A.· ·Yes.
 10· · · ·Q.· ·That's what was exposed to you; is that fair?
 11· · · ·A.· ·Yes.
 12· · · ·Q.· ·And were you trained that by shooting someone center
 13· ·mass, potentially causing serious injury or death, that could
 14· ·disable the driver?
 15· · · ·A.· ·Yes.
 16· · · ·Q.· ·And did you have -- you had all that training, I'm
 17· ·assuming, before the date of the incident.
 18· · · ·A.· ·Yes.
 19· · · ·Q.· ·Okay.
 20· · · · · · MR. GALIPO:· Is this a good time for a break?
 21· · · · · · Take about five minutes.
 22· · · · · · (Recess taken.)
 23· · · · · · MR. GALIPO:· We'll go back on.
 24· ·BY MR. GALIPO:
 25· · · ·Q.· ·The policy with respect to shooting at moving

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 ·1· ·vehicle, do you know when the last time you looked at that
 ·2· ·policy?
 ·3· · · ·A.· ·So it was toward the end of last month or beginning
 ·4· ·of this month.
 ·5· · · ·Q.· ·So it was within the last month or two.
 ·6· · · ·A.· ·Yes.
 ·7· · · ·Q.· ·And did you look at it in part because you knew that
 ·8· ·deposition was coming up on this case to refresh your
 ·9· ·recollection, or for some other reason?
 10· · · ·A.· ·For some other reason.
 11· · · ·Q.· ·Why did you look at it at that time?
 12· · · ·A.· ·Two-fold, quarterly training.
 13· · · · · · We're required to review it, the shooting policy,
 14· ·pursuit policy.· And then I took the sergeant's exam, so just
 15· ·in case it was one of the questions asked on the test.
 16· · · ·Q.· ·And your -- I know you answered this at some extent
 17· ·before the break, but just tell me your best understanding or
 18· ·recollection of the policy with respect to shooting at moving
 19· ·vehicles.
 20· · · ·A.· ·As far as shooting vehicles, of course, you can
 21· ·shoot at a vehicle, you know, at the driver of the vehicle if
 22· ·you believe, you know, if your life is in danger or life of
 23· ·another person is in danger.· As far as specifically stepping
 24· ·into the path, the policy does say that, you know, you
 25· ·shouldn't step in front or behind a vehicle in order to

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 ·1· ·prevent escape just to create the circumstances of shooting
 ·2· ·the driver or shooting the occupant.
 ·3· · · ·Q.· ·So is it -- anything else you recall, or is that
 ·4· ·basically what you recall about the policy?
 ·5· · · ·A.· ·It was also shooting at wrong way drivers on the
 ·6· ·freeway.
 ·7· · · ·Q.· ·That's pretty much prohibited under the CHP
 ·8· ·guidelines?
 ·9· · · ·A.· ·Yes.· I'm not really sure what the wording is, if
 10· ·it's a "should," "shall," or "may."
 11· · · ·Q.· ·So how about blocking vehicles, is there any
 12· ·policies with respect to whether you should or should not
 13· ·block vehicles in?· And I'm talking about more with the cars.
 14· · · · · · Any policy of that regard?
 15· · · ·A.· ·There is.
 16· · · ·Q.· ·What is your understanding of that policy?
 17· · · ·A.· ·Blocking is a -- or boxing in or blocking, boxing,
 18· ·of course, usually it's rolling.· Blocking could be used, but
 19· ·the suspect has to be known, and I think there's discretion
 20· ·on when to use it.
 21· · · · · · I'm not really sure what that is.
 22· · · ·Q.· ·Well, the suspect being known, what does that mean?
 23· · · · · · Having some prior information about the suspect?
 24· · · ·A.· ·Yes.
 25· · · ·Q.· ·Anything else you can recall about the policy with

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 ·1· ·would prevent the dark Honda from moving forward?
 ·2· · · · · · Probably an obvious question, but --
 ·3· · · ·A.· ·I -- impede their movement forward.
 ·4· · · ·Q.· ·When you moved your truck in the position we see it
 ·5· ·in Exhibit 1, was the black Honda actually in the parking
 ·6· ·space next to the white Honda?
 ·7· · · ·A.· ·It was parked adjacent to it, yes.
 ·8· · · ·Q.· ·More or less in that parking space?
 ·9· · · ·A.· ·Yes.
 10· · · ·Q.· ·And do you have an estimate when you pulled your
 11· ·truck up, how far the front of the dark Honda was from the
 12· ·passenger side of your truck once you pulled it up and
 13· ·stopped it?
 14· · · ·A.· ·Less than half a car length.
 15· · · ·Q.· ·And do you recall when you saw the dark-colored
 16· ·Honda going backwards, were you already to the rear of your
 17· ·truck?
 18· · · ·A.· ·I was.
 19· · · ·Q.· ·Do you ever remember being in a position more on the
 20· ·side, the driver side of the dark-colored Honda when you were
 21· ·firing into it?
 22· · · ·A.· ·I guess so.· Yes.
 23· · · ·Q.· ·Okay.· We looked before at, I guess Exhibit 8, we
 24· ·were talking about the bullet strike to the window on the
 25· ·driver side.

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 ·1· · · · · · Is it your understanding that that bullet strike
 ·2· ·came from you?
 ·3· · · · · · MS. DEAN:· Objection; to the extent it calls for
 ·4· ·expert testimony.
 ·5· · · · · · THE WITNESS:· I think so.
 ·6· ·BY MR. GALIPO:
 ·7· · · ·Q.· ·And would it be fair to say at the time you fired
 ·8· ·that shot, the -- you would have been to the side, driver
 ·9· ·side of the dark-colored Honda, with the driver side window
 10· ·exposed to you or to your gun?
 11· · · · · · MS. DEAN:· Objection.· Vague.
 12· · · · · · THE WITNESS:· I had to be to its left, yes.
 13· ·BY MR. GALIPO:
 14· · · ·Q.· ·And when you say, "To its left," you mean, the left
 15· ·side of the dark-colored Honda?
 16· · · ·A.· ·Yes.
 17· · · ·Q.· ·Do you recall during some of the shooting sequence
 18· ·seeing the driver through the driver side window?
 19· · · ·A.· ·I do not.
 20· · · ·Q.· ·You just remember focusing on the driver at that
 21· ·point?
 22· · · ·A.· ·Yes.
 23· · · ·Q.· ·What time, about, did the shooting happen?
 24· · · · · · Was it somewhere like between 7:30 and 8:00 in the
 25· ·morning?

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 ·1· · · ·Q.· ·Did you have, before the incident, let's take the
 ·2· ·day before the incident.
 ·3· · · · · · Did you have any particular injuries you were
 ·4· ·dealing with?
 ·5· · · ·A.· ·No.
 ·6· · · ·Q.· ·Did you have any injuries resulting from this
 ·7· ·incident, physical injuries?
 ·8· · · ·A.· ·No.
 ·9· · · ·Q.· ·Did you ever run out of the path of the vehicle in
 10· ·this incident?
 11· · · ·A.· ·No.
 12· · · ·Q.· ·Did you move out of the path of the vehicle at some
 13· ·point during the shooting sequence to end up on the driver
 14· ·side of the car?
 15· · · ·A.· ·I can't recall.
 16· · · ·Q.· ·You never dove on the ground or anything like
 17· ·that?
 18· · · ·A.· ·No.
 19· · · ·Q.· ·So understanding that the incident happened
 20· ·somewhere between 7:00 and 8:30 in the morning, when
 21· ·approximately did you give your statement?
 22· · · ·A.· ·I believe it was some time in the afternoon.
 23· · · ·Q.· ·And do you recall where you were when you gave your
 24· ·statement?
 25· · · ·A.· ·Yes.

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 ·1· · · ·A.· ·Jason and I.
 ·2· · · ·Q.· ·Were those individuals patted down, if you know, to
 ·3· ·see if they had any weapons on them?
 ·4· · · ·A.· ·I don't recall.
 ·5· · · ·Q.· ·To your knowledge, did any of the people in the car
 ·6· ·have any weapons on them?
 ·7· · · ·A.· ·Not to my knowledge.
 ·8· · · ·Q.· ·Do you know if any of the incident was
 ·9· ·audio-recorded?
 10· · · ·A.· ·Not to my knowledge.
 11· · · ·Q.· ·The videos that you saw, did they have any audio
 12· ·component, or just video?
 13· · · ·A.· ·From my recollection, it was just video.
 14· · · ·Q.· ·I'm looking through your statement, so sometimes
 15· ·there's going to be pauses between my questions because some
 16· ·of these, we've already covered it, and I don't want to have
 17· ·to ask you the same question again.· So I apologize.
 18· · · · · · Plus I give our court reporter a little break.
 19· · · · · · And do I have it correct that was actually the first
 20· ·day that you met Jason?
 21· · · ·A.· ·No.
 22· · · ·Q.· ·Oh, had you met him before?
 23· · · ·A.· ·Yes.
 24· · · ·Q.· ·I see.· Was this the first day you worked together,
 25· ·though?

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 ·1· · · ·A.· ·No.
 ·2· · · ·Q.· ·I probably misunderstood what you said earlier.
 ·3· · · · · · Had you worked with Jason before?
 ·4· · · ·A.· ·Prior to SANCATT, no.
 ·5· · · ·Q.· ·But you had worked with him as part of that task
 ·6· ·force before?
 ·7· · · ·A.· ·Yes.
 ·8· · · ·Q.· ·How many times had you worked with him before on the
 ·9· ·task force?
 10· · · ·A.· ·I don't know.
 11· · · ·Q.· ·Did you ever call for backup at any time before the
 12· ·shots were fired?
 13· · · ·A.· ·Yes.
 14· · · ·Q.· ·Did you have any information as to how far they were
 15· ·out?
 16· · · ·A.· ·I did not.
 17· · · ·Q.· ·I take it the backup you were requesting would have
 18· ·been marked units?
 19· · · ·A.· ·Yes.
 20· · · ·Q.· ·Did you know whether or not Jason was in the general
 21· ·background of your shots at any time?
 22· · · ·A.· ·I do not.
 23· · · ·Q.· ·Could you tell immediately after the shooting
 24· ·whether the driver was still alive?
 25· · · ·A.· ·Yes.

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 ·1· · · ·Q.· ·Because if they saw you with a gun in your hand
 ·2· ·without your uniform, at first they might not know who you
 ·3· ·are.
 ·4· · · ·A.· ·Yes.
 ·5· · · ·Q.· ·Did Jason initially pull his car directly behind the
 ·6· ·Impala to block that one?
 ·7· · · · · · Do you remember --
 ·8· · · · · · MS. SESPENE:· Calls for speculation.
 ·9· · · · · · MR. GALIPO:· Sorry?
 10· · · · · · MS. SESPENE:· Calls for speculation.
 11· ·BY MR. GALIPO:
 12· · · ·Q.· ·You many answer.
 13· · · ·A.· ·He parked directly behind the Impala.
 14· · · · · · I don't know why.
 15· · · ·Q.· ·Fair enough.
 16· · · · · · MR. GALIPO:· Once again, based on the answer, the
 17· ·objection was well-founded.
 18· ·BY MR. GALIPO:
 19· · · ·Q.· ·Do you recall in your statement indicating that
 20· ·Jason parked directly behind the Impala almost to block it?
 21· · · ·A.· ·He was positioned.· His car was positioned directly
 22· ·behind the Impala.
 23· · · ·Q.· ·I take it that he moved his car from that position
 24· ·to the position we've talked about in Exhibit 1 at some
 25· ·point?

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 ·1· · · ·A.· ·Yes.
 ·2· · · ·Q.· ·Okay.· Do you recall anything about your
 ·3· ·conversation with Jason about when you made your observations
 ·4· ·about thinking that maybe that one person was trying to steal
 ·5· ·the white Honda?
 ·6· · · · · · Did you have any discussion with Jason about that?
 ·7· · · ·A.· ·Yes.
 ·8· · · ·Q.· ·What do you generally recall?
 ·9· · · ·A.· ·At that point I had told Jason that it was going
 10· ·down -- it was going down, I believe.
 11· · · · · · There was a conversation prior to that, but once I
 12· ·saw the driver or the passenger next to the white Honda, my
 13· ·conversation with Jason was, "Hey, it's going down now."
 14· · · ·Q.· ·Referring to a possible attempt to steal the white
 15· ·Honda?
 16· · · ·A.· ·Yes.
 17· · · ·Q.· ·If you know, was the Walmart open at that time?
 18· · · ·A.· ·Yes.
 19· · · ·Q.· ·And were there -- did you observe, prior to the
 20· ·shooting, some pedestrians in the parking lot?
 21· · · ·A.· ·Yes.
 22· · · ·Q.· ·Directionwise, do you know, maybe for example, your
 23· ·truck, as we see it in Exhibit 1, do you know generally --
 24· ·and let me show you it.
 25· · · · · · Do you know generally which direction the front of

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 ·1· · · ·Q.· ·Okay.· Thank you.
 ·2· · · · · · At any time did you ever see Jason in a physical
 ·3· ·fight with any of the people in the vehicle?
 ·4· · · ·A.· ·I did not.
 ·5· · · ·Q.· ·Did you ever see Jason on the passenger side of the
 ·6· ·dark-colored Honda?
 ·7· · · ·A.· ·Yes.
 ·8· · · ·Q.· ·And where was he relative to the vehicle when you
 ·9· ·saw him?
 10· · · · · · In other words, was he closer to the door, or some
 11· ·other part of the car on the passenger side?
 12· · · ·A.· ·It's what I call the -- or in the auto theft
 13· ·community or anybody else, the "B-pillar" post of the
 14· ·vehicle.
 15· · · · · · So between the right, rear passenger and right,
 16· ·front passenger.
 17· · · ·Q.· ·So looking at Exhibit 10, is the B-pillar
 18· ·essentially in the area, I guess, where this 2A is?
 19· · · · · · In other words, on the part of car that separates
 20· ·the front door from the rear door?
 21· · · ·A.· ·Yes.
 22· · · ·Q.· ·And the A-pillar, is that commonly the edge of the
 23· ·front door, separating that and the front quarter panel?
 24· · · ·A.· ·Yes.
 25· · · ·Q.· ·Okay --

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 ·1· · · ·A.· ·On Exhibit 8, this would be the A-pillar post.
 ·2· · · ·Q.· ·Okay.· Understood.
 ·3· · · · · · So when you saw Jason on the passenger side, it was
 ·4· ·in the area of the B-pillar.
 ·5· · · ·A.· ·Yes.
 ·6· · · ·Q.· ·And when did you see Jason on the passenger side of
 ·7· ·the vehicle?
 ·8· · · · · · Did you see that at any time before you fired your
 ·9· ·first shot?
 10· · · ·A.· ·Yes.
 11· · · ·Q.· ·And how long did you see Jason on the passenger side
 12· ·of the vehicle before you fired your first shot?
 13· · · · · · Was it just momentarily for a second or two, or a
 14· ·longer period of time?
 15· · · ·A.· ·Jason was more -- I could see him out of my
 16· ·peripheral vision that he was in that general area.
 17· · · ·Q.· ·And would that be more of your left peripheral from
 18· ·your viewpoint?
 19· · · ·A.· ·Yes.
 20· · · ·Q.· ·Do you have an estimate as to how long you saw Jason
 21· ·at the B-pillar area on the passenger side of the
 22· ·dark-colored Honda?
 23· · · ·A.· ·I do not.
 24· · · ·Q.· ·In other words, and I don't know if an estimate
 25· ·would help, but I don't know if it was more like one or two

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 ·1· ·seconds as opposed to five on ten or any range you're
 ·2· ·comfortable with?
 ·3· · · ·A.· ·I guess from the time I circled to the back of my
 ·4· ·truck to the end of the incident, from the end of the
 ·5· ·shooting, he was in that general area.
 ·6· · · ·Q.· ·And you would have been able to see him from your
 ·7· ·position at least peripherally?
 ·8· · · ·A.· ·Yes.
 ·9· · · ·Q.· ·Did you, at any time, see the truck make physical
 10· ·contact with Jason?
 11· · · ·A.· ·You mean, the black Honda?
 12· · · ·Q.· ·I mean, the black Honda.· I'm sorry.
 13· · · ·A.· ·No.
 14· · · ·Q.· ·Would it be correct that when the vehicle went
 15· ·backwards, it was going slowly?
 16· · · · · · MS. DEAN:· Objection.· Vague.
 17· · · · · · THE WITNESS:· I can't recall.
 18· ·BY MR. GALIPO:
 19· · · ·Q.· ·Do you recall if in your initial statement you
 20· ·indicated when the vehicle was going backwards, it was going
 21· ·slowly backwards?
 22· · · ·A.· ·That's what it appeared to me.
 23· · · ·Q.· ·Do you recall in your initial statement saying when
 24· ·the vehicle started to -- or I think you saw the wheels --
 25· ·let me break this down in two parts.

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 ·1· · · · · · At some point you remember after the vehicle went in
 ·2· ·reverse seeing the wheels on the vehicle turn?
 ·3· · · ·A.· ·Yes.
 ·4· · · ·Q.· ·And do you recall at that point you started moving
 ·5· ·away from its path?
 ·6· · · ·A.· ·Yes.
 ·7· · · ·Q.· ·You have some training with respect to cross fire?
 ·8· · · ·A.· ·Yes.
 ·9· · · ·Q.· ·And during this incident were you concerned about
 10· ·the possibility of cross fire knowing that Jason was on the
 11· ·other side of the car?
 12· · · ·A.· ·I was.
 13· · · ·Q.· ·And is cross fire essentially when officers are in
 14· ·positions where they could possibly be struck by another
 15· ·officer's shot?
 16· · · · · · Or what do you think of when you think of cross
 17· ·fire?
 18· · · ·A.· ·Just when if you're on the same team, and you cross
 19· ·each other, and you fire in the same direction or fire in the
 20· ·opposite direction, so you're basically the backdrop is
 21· ·you.
 22· · · ·Q.· ·Right.· And you were thinking about the possibility
 23· ·of cross fire during the incident?
 24· · · ·A.· ·I was.
 25· · · ·Q.· ·Did you consider that possibility before you started

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 ·1· ·firing?
 ·2· · · ·A.· ·Yes.
 ·3· · · ·Q.· ·Did you ever yell out "cross fire" or words to that
 ·4· ·effect?
 ·5· · · ·A.· ·No.
 ·6· · · ·Q.· ·Did you essentially keep firing until you saw the
 ·7· ·driver slumped over the wheel?
 ·8· · · ·A.· ·Yes.
 ·9· · · ·Q.· ·And then after you stopped firing -- strike that.
 10· · · · · · You saw the driver slump over the wheel, you stopped
 11· ·firing, and then you saw the vehicle continue forward, and
 12· ·then making contact with your truck?
 13· · · ·A.· ·I don't.
 14· · · ·Q.· ·You don't recall that?
 15· · · ·A.· ·I don't recall.
 16· · · ·Q.· ·That's fine.
 17· · · · · · Do you recall stating in your statement when the
 18· ·vehicle started moving forward after going in reverse, it
 19· ·looked like it was a slow crawl forward, initially?
 20· · · ·A.· ·I don't recall that in my statement.
 21· · · ·Q.· ·Do you recall in your statement saying that as the
 22· ·vehicle was moving forward, you were trying to move out of
 23· ·the way of the vehicle?
 24· · · ·A.· ·I don't recall.
 25· · · ·Q.· ·Is that part of your training, though, to move out

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 ·1· ·of the way if you can?
 ·2· · · ·A.· ·Yes.
 ·3· · · ·Q.· ·Were you using your sights on your weapon when you
 ·4· ·fired?
 ·5· · · ·A.· ·Yes.
 ·6· · · ·Q.· ·And that's based in part on training?
 ·7· · · ·A.· ·Yes.
 ·8· · · ·Q.· ·Your shots, however many they were, were they
 ·9· ·generally in rapid succession, or do you recall any pauses
 10· ·between your shots?
 11· · · ·A.· ·I don't recall any pauses.
 12· · · ·Q.· ·Do you recall in your initial statements saying that
 13· ·you believe that one of your shots hit the driver side window
 14· ·as you were aiming center mass to the driver?
 15· · · ·A.· ·Yes.
 16· · · ·Q.· ·Would it be fair to say at least at the time of
                                                            o that
 17· ·shot, you would have been to the side of the car?
 18· · · · · · MS. DEAN:· Objection.· Vague.
 19· · · · · · THE WITNESS:· It's possible.
 20· ·BY MR. GALIPO:
 21· · · ·Q.· ·Do you recall in your statement when you estimated
 22· ·the distance that you were from the driver of the vehicle
 23· ·when you fired, about three-quarters of a vehicle's length?
 24· · · · · · Does that sound about right?
 25· · · ·A.· ·I don't understand the question.

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 ·1· ·change of the sound of the vehicle as it was moving forward,
 ·2· ·and in your statement you said, "I did not."
 ·3· · · · · · Is that still your recollection today?
 ·4· · · ·A.· ·Yes.
 ·5· · · ·Q.· ·You were asked whether you heard any other sounds
 ·6· ·coming from the vehicle other than normal operation in your
 ·7· ·statement, and you said, "I did not."
 ·8· · · · · · Is that still your response today?
 ·9· · · ·A.· ·Yes.
 10· · · ·Q.· ·And you were asked at any point whether the vehicle
 11· ·struck you, you said, "No."
 12· · · · · · That's consistent with your recollection today?
 13· · · ·A.· ·Yes.
 14· · · ·Q.· ·And do you recall in your initial statement being
 15· ·asked to try to estimate the speed of the vehicle, and you
 16· ·saying it's difficult to estimate because from your
 17· ·perspective, the vehicle only traveled a couple of feet or
 18· ·several feet?
 19· · · ·A.· ·I do recall.
 20· · · ·Q.· ·And is that why it was difficult for you to estimate
 21· ·the speed because of the short distance the vehicle
 22· ·traveled?
 23· · · ·A.· ·I don't know.
 24· · · ·Q.· ·Okay.
 25· · · · · · MR. GALIPO:· I think we can take another five-minute

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 ·1· ·break because I think I'm getting pretty close.
 ·2· · · · · · (Recess taken.)
 ·3· · · · · · MR. GALIPO:· We can go back on the record.
 ·4· ·BY MR. GALIPO:
 ·5· · · ·Q.· ·Are you ready to continue?
 ·6· · · ·A.· ·Of course.
 ·7· · · ·Q.· ·Do you know if part -- is part of the training that
 ·8· ·you have had, that firing at moving vehicles is generally
 ·9· ·discouraged?
 10· · · ·A.· ·Yes.
 11· · · ·Q.· ·Is part of your training that firing at moving
 12· ·vehicles or their drivers is rarely effective and extremely
 13· ·hazardous to innocent persons?
 14· · · ·A.· ·Yes.
 15· · · ·Q.· ·When you fired your shots, you were at least aware
 16· ·that there was a front seat passenger in the car?
 17· · · ·A.· ·Yes.
 18· · · ·Q.· ·Do you know one way or the other whether the same
 19· ·detectives that took your statement took the other officer's
 20· ·statement?
 21· · · ·A.· ·I do not.
 22· · · ·Q.· ·You don't know.· Okay.
 23· · · · · · And you do have the spelling on the last name of the
 24· ·other officer?
 25· · · · · · Is it P-e-r-n-i-c-i-a-r-o?

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 ·1· · · ·A.· ·I think so.
 ·2· · · ·Q.· ·That's at least what the statement seems to
 ·3· ·indicate.
 ·4· · · · · · That's why I was joking before with common spelling.
 ·5· · · · · · I take it you did not have a body cam at that
 ·6· ·time?
 ·7· · · ·A.· ·I did not.
 ·8· · · ·Q.· ·And do you have body cams now?
 ·9· · · ·A.· ·No.
 10· · · ·Q.· ·Did you run a -- or maybe Jason, a particular
 11· ·vehicle to see if it came back stolen while you were in the
 12· ·parking lot before the shooting?
 13· · · · · · Do you recall anything like that?
 14· · · · · · Maybe the black dark-colored Honda?
 15· · · ·A.· ·Yes.
 16· · · ·Q.· ·Would it be fair to say it did not come back
 17· ·stolen?
 18· · · ·A.· ·Yes.
 19· · · ·Q.· ·Timewise, I know this was probably happening pretty
 20· ·fast, do you have an estimate as to how much time passed from
 21· ·you getting to the rear portion of your truck and the
 22· ·shooting?
 23· · · ·A.· ·In my mind it was seconds.
 24· · · · · · I would say no more than 30 seconds.· I know it was
 25· ·quick.

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 ·1· · · ·A.· ·I was wearing street clothes, and then my badge, my
 ·2· ·flat badge that's inside a black lanyard with a silver chain,
 ·3· ·and a weapon on the right side.
 ·4· · · ·Q.· ·You also mentioned that you saw the dark vehicle
 ·5· ·park in front of your truck at that point --
 ·6· · · ·A.· ·Yes.
 ·7· · · ·Q.· ·Were you able to observe the occupants of the
 ·8· ·vehicle at that time?
 ·9· · · ·A.· ·Yes.
 10· · · ·Q.· ·What did you observe?
 11· · · ·A.· ·I observed that the driver and the passenger having
 12· ·a conversation.· As they're having the conversation, I could
 13· ·tell that based on my training and experience, they looked
 14· ·like they were drug users.· The appearance was disheveled,
 15· ·kind of yellowish, white color, unshaven, clothes were little
 16· ·bit unkept.· They looked tired.· Both of them looked tired,
 17· ·eyes like they were forcing their eyes to stay open, and like
 18· ·I said, to me they -- what I've seen in my career, they
 19· ·looked like drug users.
 20· · · ·Q.· ·And then after they parked in front of you, what
 21· ·happened next?
 22· · · ·A.· ·After they parked in front of me, that's when -- can
 23· ·you repeat the question?
 24· · · ·Q.· ·So when you saw -- you observed the Honda parked in
 25· ·front of you --

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 ·1· · · · · · · · · · · · · · CERTIFICATE

 ·2· · · · · · · · · · · · · · · · OF

 ·3· · · · · · ·CERTIFIED STENOGRAPHIC SHORTHAND REPORTER

 ·4

 ·5· · · · · · I, JINNA GRACE KIM, CSR No. 14151, a Certified

 ·6· ·Stenographic Shorthand Reporter of the State of California,

 ·7· ·do hereby certify:

 ·8· · · · · · That the foregoing proceedings were taken before me

 ·9· ·at the time and place herein set forth;

 10· · · · · · That any witnesses in the foregoing proceedings,

 11· ·prior to testifying, were placed under oath;

 12· · · · · · That a verbatim record of the proceedings was made

 13· ·by me, using machine shorthand, which was thereafter

 14· ·transcribed under my direction;

 15· · · · · · Further, that the foregoing is an accurate

 16· ·transcription thereof.

 17· · · · · · I further certify that I am neither financially

 18· ·interested in the action, nor a relative or employee of any

 19· ·attorney of any of the parties.

 20

 21· · · · · · IN WITNESS WHEREOF, I have subscribed my name, this

 22· ·date:· May 17, 2019.

 23

 24· · · · · · · · · · · · ______________________________
 · · · · · · · · · · · · · Jinna Grace Kim, CSR No. 14151
 25


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